Case: 5:19-mj-08003-JDG Doc #: 20 Filed: 09/10/19 1 of 3. PagelD #: 86

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

UNITED STATES OF AMERICA § JUDGMENT IN A CRIMINAL CASE
§
v. §
§ Case Number: 5:19-MJ-08003-JDG(1)
PRECISION HERBS LLC § | USM Number:
§ Kent L. Brown
§ Defendant's Attorney FI L E D
THE DEFENDANT:
X | pleaded guilty to count(s) Counts | and 2 of Information SEP 10 2n g
pleaded guilty to count(s) before a U.S. c ~~
O | Magistrate Judge, which was accepted by the Noam: DISTRICT CCURT
court, CLEVELAND GHIO
Oo pleaded nolo contendere to count(s) which was
accepted by the court
o | was found guilty on count(s) after a plea of not
guilty
The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense Offense Ended Count
21:331A.M 21 U.S.C. 331(A) Introduction OF Adulterated Drugs and Devices 08/29/2019 |
21:331A.M 21 U.S.C. 331(F) Failure To Allow Fda Inspection 08/29/2019 2

The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984,

O The defendant has been found not guilty on count(s)

o

Count(s) Ois 0 are dismissed on the motion of the United States

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

August 29, 2019

Date of Imposition of Judgment

Jonathan D. Greenberg, United States Magistrate Judge
Name and Title of Judge

September 10, 2019 _ _ ee

Date
Case: 5:19-mj-08003-JDG Doc #: 20 Filed: 09/10/19 2 of 3. PagelD #: 87

AO 245B (Rev. 2/18) Judgment in a Criminal Case Judgment -- Page 2 of 3

DEFENDANT: PRECISION HERBS LLC
CASE NUMBER: 5:19-MJ-08003-JDG(1)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment | JVTA Assessment* Fine Restitution
TOTALS $50.00 $166,965.80 $.00
oO The determination of restitution is deferred until An Amended Judgment in a Criminal Case
(AO0245C) will be entered after such determination.
oO The defendant must make restitution (including community restitution) to the following payees in the

amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18
U.S.C, § 3664(i), all nonfederal victims must be paid before the United States is paid.

O Restitution amount ordered pursuant to plea agreement $

O ~The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
& the interest requirement is waived for the X fine Osrestitution
© sthe interest requirement for the QO fine O _srestitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
** Findings for the total amount of losses are required under Chapters 109A, 110, L10A, and 113A of Title 18 for offenses committed on or after

September 13, 1994, but before April 23, 1996.
Case: 5:19-mj-08003-JDG Doc #: 20 Filed: 09/10/19 3 of 3. PagelD #: 88

AO 245B (Rev. 2/18) Judgment in a Criminal Case Judgment -- Page 3 of 3

DEFENDANT: PRECISION HERBS LLC
CASENUMBER: _ 5:19-MJ-08003-JDG(1)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A

P=

X
X

oO

Lump sum payment of $166,965.80 due

not later than October 31, 2019 ,or
in accordance D C, a D, oO E, or o F below; or
Payment to begin immediately (may be combined with O Cc, Oo D, or oO F below); or
Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over
a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment;
or
Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) after release from

imprisonment to a term of supervision; or

Payment during the term of supervised release will commence within (e.g.. 30 or 60 days) after
release from imprisonment. The court will set the payment plan based on an assessment of the

defendant’s ability to pay at that time: or

Special instructions regarding the payment of criminal monetary penalties:

It is ordered that the Defendant shall pay to the United States a special assessment of $25.00 for Counts | and 2 of
the Information, for a total of $50.00, which shall be due immediately. Said special assessment shall be paid to
the Clerk, U.S. District Court. Fine of $166,965.80 due no later than October 31, 2019.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’

Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Oo

ololo

Joint and Several
See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and

Several Amount, and corresponding payee, if appropriate.

CO Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same

loss that gave rise to defendant's restitution obligation.

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
